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PAMELA W. BUNN                 6460
DENTONS US LLP
1001 Bishop Street, Suite 1800
Honolulu, Hawai`i 96813
Telephone: (808) 524-1800
Facsimile: (808) 524-4591
E-mail: pam.bunn@dentons.com


Attorney for Amicus Curiae
EVERYTOWN FOR GUN SAFETY

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI‘I

TODD YUKUTAKE and DAVID                    Civil No. CV19-00578-JMS-RT
KIKUKAWA,
                                           MOTION FOR LEAVE TO FILE
                Plaintiffs,                BRIEF OF EVERYTOWN FOR
       v.                                  GUN SAFETY AS AMICUS
                                           CURIAE; EXHIBIT A
CLARE E. CONNORS, in her official
capacity as the Attorney General of
the State of Hawaii, and the CITY and      Summary Judgment Motion Hearing:
COUNTY OF HONOLULU,                        June 28, 2021, at 10:00 a.m.
                                           Chief Judge J. Michael Seabright
                Defendants.
                                           Trial Date: February 23, 2022



                MOTION FOR LEAVE TO FILE BRIEF OF
            EVERYTOWN FOR GUN SAFETY AS AMICUS CURIAE

      Everytown for Gun Safety (formally, Everytown for Gun Safety Action

Fund; hereafter “Everytown”) respectfully moves for leave to file an amicus curiae

brief in the above-captioned matter in support of the Attorney General’s Counter-
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Motion for Summary Judgment and Opposition to Plaintiffs’ Motion for Summary

Judgment. The Court has set these motions for hearing on June 28, 2021. If granted

leave, Everytown will file the brief attached as Exhibit A. The Attorney General

consents to Everytown’s motion for leave, and plaintiffs have advised that they

oppose this motion.

      Everytown is the nation’s largest gun-violence-prevention organization, with

nearly six million supporters across the country, including thousands in Hawai‘i.

Everytown was founded in 2014 as the combined efforts of Mayors Against Illegal

Guns, a national, bipartisan coalition of mayors combating illegal guns and gun

trafficking, and Moms Demand Action for Gun Sense in America, an organization

formed after the murder of twenty children and six adults in an elementary school

in Newtown, Conn. Everytown also includes the Everytown Survivor Network, a

nationwide community of survivors working together to end gun violence.

      A “district court has broad discretion to appoint amici curiae.” Hoptowit v.

Ray, 682 F.2d 1237, 1260 (9th Cir. 1982), abrogated on other grounds by Sandin

v. Conner, 515 U.S. 472 (1995); see also Duronslet v. Cty. of Los Angeles, No.

2:16-cv-08933, 2017 WL 5643144, at *1 (C.D. Cal. Jan. 23, 2017). Courts

“frequently welcome amicus briefs from nonparties concerning legal issues that

have potential ramifications beyond the parties directly involved or if the amicus

has unique information or perspective that can help the court beyond the help that


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the lawyers for the parties are able to provide.” Safari Club Int’l v. Harris, No.

2:14-cv-01856, 2015 WL 1255491, at *1 (E.D. Cal. Jan. 14, 2015) (citation

omitted). “Even when a party is very well represented, an amicus may provide

important assistance to the court.” Duronslet, 2017 WL 5643144 at *1 (quoting

Neonatology Assocs., P.A. v. C.I.R., 293 F.3d 128, 132 (3d Cir. 2002)). “The

touchstone is whether the amicus is ‘helpful,’ and there is no requirement ‘that

amici must be totally disinterested.’” Earth Island Inst. v. Nash, No. 1:19-cv-

01420-DAD-SAB, 2019 WL 6790682, at *1 (E.D. Cal. Dec. 12, 2019); see Funbus

Sys., Inc. v. State of Cal. Pub. Utilities Comm’n, 801 F.2d 1120, 1125 (9th Cir.

1986) (“[T]here is no rule that amici must be totally disinterested,” and it is “a

perfectly permissible role for an amicus” to “take a legal position and present legal

arguments in support of it.”).

      In short, “[a]n amicus brief should normally be allowed when . . . the amicus

has unique information or perspective that can help the court beyond the help that

the lawyers for the parties are able to provide.” Cmty. Ass’n for Restoration of the

Env’t. (CARE) v. DeRuyter Bros. Dairy, 54 F. Supp. 2d 974, 975 (E.D. Wash.

1999) (citing Northern Sec. Co. v. United States, 191 U.S. 555, 556 (1903)).

Everytown has this unique information or perspective.

      Over the past several years, Everytown has devoted substantial resources to

researching and developing expertise in historical firearms legislation, which can


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provide important context in Second Amendment cases, including in this matter.

Everytown has drawn on that expertise to file briefs in numerous Second

Amendment cases, including a prior brief in this case, offering historical and

doctrinal analysis, as well as social science and public policy research, that might

otherwise be overlooked. See Dkt. 64, 67; see also, e.g., Teter v. Connors, No.

1:19-cv-00183 (D. Haw.), Dkt. 47; Roberts v. Suzuki, No. 1:18-cv-00125 (D.

Haw.), Dkt. 62-1; Young v. Hawaii, No. 12-17808 (9th Cir.); Silvester v. Harris,

No. 14-16840 (9th Cir.). In Roberts, at Judge Gillmor’s invitation, Everytown also

presented oral argument as amicus curiae on the parties’ summary judgment

motions. See No. 1:18-cv-00125, Dkt. 71.

      Several courts, including in this District, have expressly relied on

Everytown’s amicus briefs in deciding Second Amendment and other gun cases.

See Teter v. Connors, 460 F. Supp. 3d 989, 1002-03 (D. Haw. 2020), appeal

docketed, No. 20-15948 (9th Cir. May 19, 2020)); Ass’n of N.J. Rifle & Pistol

Clubs, Inc. v. Att’y Gen. N.J., 910 F.3d 106, 112 n.8 (3d Cir. 2018); Rupp v.

Becerra, 401 F. Supp. 3d 978, 991-92 & n.11 (C.D. Cal. 2019), appeal docketed,

No. 19-56004 (9th Cir. Aug. 28, 2019); see also Rehaif v. United States, 139 S. Ct.

2191, 2210-11 nn.4 & 7 (2019) (Alito, J., dissenting).

      Everytown’s proposed amicus brief (attached as Exhibit A) addresses two

points. First, it addresses two preliminary errors in plaintiffs’ account of the


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historical inquiry courts undertake in Second Amendment cases in the wake of

District of Columbia v. Heller, 554 U.S. 570 (2008). Second, it demonstrates that

the inspection requirement in the law is part of a regulatory tradition stretching all

the way back to the founding era. Militia laws in the earliest days of the United

States—which Everytown discusses in its brief and sets forth in an accompanying

appendix—required members to equip themselves with specific firearms and

ammunition and to present themselves and their weapons for inspection on a

regular basis. In light of these laws, ordinary citizens in the founding era would

have considered in-person inspection requirements to be well within the

government’s powers—and thus, under Heller, such requirements fall outside the

scope of the Second Amendment. As Everytown discusses in its brief, plaintiffs’

challenge to Hawai‘i’s law on this basis should therefore fail.

      The Attorney General has consented to the filing of this proposed amicus

brief. Plaintiffs have said that they will oppose the filing of this brief, without

indicating their grounds for doing so. Allowing Everytown leave to file as amicus

will not cause any prejudice or delay, because this motion is filed within seven

days of the State’s filing on its summary judgment motion (in accord with the

comparable rule for amicus filings in the federal courts of appeals, see Fed. R.

App. P. 29(a)(6)) and well in advance of the June 28, 2021 hearing on the Parties’

respective motions for summary judgment. This Court previously granted


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Everytown leave to file an amicus brief, see Dkt. 67, over plaintiffs’ opposition,

see Dkt. 65.

                                  CONCLUSION

      For the foregoing reasons, Everytown respectfully requests that this Court

grant it leave to file the amicus curiae brief attached hereto as Exhibit A.

      DATED: Honolulu, Hawai‘i, June 4, 2021.

                                               /s/ Pamela W. Bunn
                                               PAMELA W. BUNN

                                               Attorney for Amicus Curiae
                                               EVERYTOWN FOR GUN SAFETY




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